CaSe 3:07-cv-00131-E.]L Document 1 Filed 03/15/07 Page 1 014

Robert A. Anderson, |SB No. 2124
l\/|ark D. Sebastian, lSB No. 6012
ANDERSON, JUL|AN & HULL LLP
C. W. l\/loore Plaza

250 South Fifth Street, Suite 700
P. O. Box 7426

Boise, lD 83707-7426
Te|ephone: (208) 344-5800
Facsimile: (208) 344-5510

Emai|: raanderson@ajh|aw.com

Attorneys for Defendants

lN THE UN|TED STATES D|STR|CT COURT

FOR THE STATE OF lDAHO

|\/|ART|N “DlCK” CHENEY and FARR|S
CHENEY, lndividua|ly and as Hueband
and Wite,

P|aintiffs,
vs.

USL|FE CF{EDlT LlFE |NSURANCE
COl\/IPANY, Al\/IERICAN GENERAL
ASSURANCE COl\/IPANY formally
known as USLll'-`E CRED|T LlFE
|NSURANCE COl\/lPANY, Al\/lER|CAN
|NTERNATIONAL GROUP, |NC. (AlG),
and Al\/lERlCAN GENERAL LlFE
COl\/lPANlES,

Defendants.

 

 

Docket No.

Nez Perce District Court Case No.
CV 06-02265

NOT|CE OF RE|VlOVAL

Fi|ing Fee: 350.00

REl\/IOVAL FROl\/l DlSTRlCT COURT TO U.S.D|STR|CT COUFlT

TO: PLAlNTlFFS AND THElR ATTORNEY OF RECORD, DARREL W. AHERlN
AHER|N, R|CE & ANEGON and THE CLERK OF ABOVE-ENT|TLED COURT:
PLEASE TAKE NOT|CE that pursuant to 28 U.S.C. §§ 1441 and 1446, the

Defendants hereby remove the above-entitled cause of action from the District Court of the

NOT|CE OF REIV|OVAL ~ ‘l

 

 

Case 3:07-cv-00131-E.]L Document 1 Filed 03/15/07 Page 2 of 4

Second Judiciai District of the State of idaho, in and for the County of Nez Perce, to the
United States District Court for the District of |daho, based on the following grounds:

F|RST: That USL|FE CREDiT LlFE iNSURANCE COi\/iPANY, A|\/iERiCAN
GENERAL ASSURANCE COi\/iPANY, Ai\/iERiCAN |NTERNAT|ONAL GROUP, |NC. (AIG)
and A|\/iEFiiCAN GENERAL LiFE COi\/iPAN|ES are the Defendants in Civi| Case No. CV
06-02265 brought against them in the District Court of the Second Judiciai District of the
State of |daho, in and for the County of Nez Perce, entitled Martin “D/'ck”Cheney and Farr/'s
Cheney, /ndiv/'dua//y and as Husband and Wife vs. USLife Credit Life insurance Company,
American Genera/ Assurance Company formally known as USLife Credit L/'fe /nsurance
Company, American /nternat/ona/ Group, /nc. (AlG) and American Genera/ L/'fe
Companies. A copy of the Summons, Comp|aint, and Notice of Summons and Comp|aint
in that action is attached hereto, together With a copy of the state court docket and the
pleadings and orders included thereon, and constitutes all process, pleadings and orders
served upon Defendants in such action.

SECOND: That the aforementioned suit Was commenced by service of a summons
and complaint on the Director of the idaho Department of insurance per idaho Code § 41 -
333, and Notice to the Defendants by the Director of the idaho Department of insurance
per idaho Code § 41-334, Which Notice together With the Summons and Comp|aint Was
received by Defendant American Genera| Life insurance Company on February15,2007.

TH|FiD: That the Piaintiffs in the above-entitled action are citizens of the State of
idaho; but that the Defendants in the above-entitled action are foreign corporations With

their states of incorporation and principle places of business located outside idaho.

NOT|CE OF REiVlOVAL - 2

 

Case 3:07-cv-00131-E.]L Document 1 Filed 03/15/07 Page 3 of 4

FOURTH: That the amount in controversy, including possible punitive damages and
attorney’s fees, exceeds $75,000; and that similar cases resulting in judgment to plaintiffs
regularly exceed $75,000.

FlFTl-i: That the controversy herein between the Plaintiffs and the Defendants
involves parties which are citizens of different states where the amount in controversy
exceeds $75,000 giving rise to jurisdiction in the federal district court pursuant to 28 U.S.C.
§ 1332.

WHEREFORE, Defendants pray that this cause proceed in the United States
District Court for the District of idaho as an action properly removed thereto.

DATED this @W"March, 2007.

ANDERSON, JUL|AN & HULL LLP
\ WWWWWWW
By \‘*

Ftobert A. Anderson, Of the Firm
Attorneys for Defendants

NOT|CE OF REIV|OVAL - 3

 

 

 

Case 3:07-cv-00131-E.]L Document 1 Filed 03/15/07 Page 4 of 4

CEBT\|F|CATE OF SERVICE

.~._,`\_

 

l HEREBY CERTlFY that on this _ day of l\/larch, 2007, l served a true and correct copy cf
the foregoing NOT|CE OF RE|V|OVAL by delivering the same to each of the following attorneys of
record, by the method indicated below, addressed as follows:

U.S. l\/iail, postage prepaid
Hand-Delivered

Darrel W. Aherin
AHER|N, FthE & ANEGON

_l' h__|\_l\_-_l\-_-_l

,`,,F,,__,,__.,_._,,.._,

1212 idaho Street Overnlght l\/lail
P.O. Drawer 698 Facsimile
Lewiston, lD 83501-0698 Cl\/l/ECF

Tel: (208) 746-3646

Attorney for P/a/'ntiffs §

Fiobert A. Anderson

 

 

NOT|CE OF RE|V|OVAL - 4

 

